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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


  In re:                                                 Chapter 11

  FRANCHISE GROUP, INC., et al.,                         Case No. 24-12480 (JTD)

                              Debtors.                   (Jointly Administered)



                      ORDER SCHEDULING OMNIBUS HEARING DATE

       Pursuant to Rule 2002-1(a) of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware, the Court hereby schedules the

following omnibus hearing date:




                                January 15, 2025, at 10:00 a.m. (ET)




           Dated: November 26th, 2024                   JOHN T. DORSEY
           Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE
